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                    UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                        FORT WORTH DIVISION

     FAULK COMPANY, INC.,

          Plaintiff,

     v.                                                  No. 4:24-cv-00609-P

     XAVIER BECERRA, ET AL.,

          Defendants.

                 ORDER & AMENDED FINAL JUDGMENT
         Before the Court is Plaintiff Faulk Company Inc.’s (“Faulk”)
     Unopposed Motion to Alter or Amend the Court’s Final Judgment. ECF
     No. 40. Having considered the Motion, the pleadings, and other docket
     filings, the Court finds that the Motion should be and hereby is
     GRANTED.

        Therefore, the Court ORDERS that the Court’s Final Judgment
     (ECF No. 39) be amended to reflect its ruling in its Opinion & Order
     (ECF No. 38), specifically:

          1. The IRS is ORDERED to refund Faulk the amount of
             $205,621.71 for the ESRP assessed for tax year 2019;
          2. 45 C.F.R. § 155.310(i) is SET ASIDE as void and unenforceable;
          3. Count II of Faulk’s Complaint is DISMISSED with prejudice;
          4. Count IV of Faulk’s Complaint is DISMISSED without
             prejudice; and
          5. Faulk may file any application for attorney’s fees on or before
             May 7, 2025; the Government may respond on or before May
             21, 2025; and Faulk may reply on or before May 28, 2025.

          SO ORDERED on this 25th day of April 2025.




                             MARK T. PITTMAN
                             UNITED STATES DISTRICT JUDGE
